Case 1:15-cv-01023-CBK Document 40 Filed 12/05/16 Page 1 of 3 PagelD #: 555

UNTIED STATES DISTRICT COURT
DISTRICT OF SOUTH DAKOTA
NORTHERN DIVISION

 

SIOUX RURAL WATER SYSTEM, INC., a Civ. 15-1023
Non-Profit Corporation

Plaintiff,

vs. SECOND AFFIDAVIT OF JEFF
COLE IN SUPPORT OF RESPONSE
TO DEFENDANTS’ STATEMENT OF
CITY OF WATERTOWN, a South Dakota UNDISPUTED MATERIAL FACTS
Municipality, and WATERTOWN
MUNICIPAL UTILITIES, an agency of
the CITY OF WATERTOWN

Defendants.

 

 

STATE OF SOUTH DAKOTA )
COUNTY OF LINCOLN ) e

Jeff Cole, being first duly sworn on oath, deposes and states:

1. That this affiant is one of the attorneys representing Sioux
Rural Water System, a non-profit corporation, in the above-entitled matter.

2. Attached hereto as Exhibit 1 is a true and correct copy of
Kittleson’s Addition within Watertown’s “Future Use Map” circled in red
ink.

3. Attached hereto as Exhibit 2 is a true and correct copy of the

relevant portions of the Water Service and Voluntary Annexation

Agreement highlighted in yellow.
Case 1:15-cv-01023-CBK Document 40 Filed 12/05/16 Page 2 of 3 PagelD #: 556

4. Attached hereto as Exhibit 3 is a true and correct copy of the
relevant portions of Rick Westbrook’s deposition testimony and depo
Exhibit 5 highlighted in yellow.

5. Attached hereto as Exhibit 4 is a true and correct copy of the
relevant portions of Jeff Deville’s deposition testimony highlighted in
yellow.

6. Attached hereto as Exhibit 5 is a true and correct copy of the
relevant portions of Steve Burian’s deposition testimony highlighted in
yellow.

7. Attached here to as Exhibit 6 is a true and correct copy of the
relevant portions of Steve Lehner’s deposition testimony highlighted in
yellow.

8. Attached hereto as Exhibit 7 is a true and correct copy of the
relevant portions of Richard Wagner’s deposition testimony highlighted in
yellow.

9. Attached hereto as Exhibit 8 is a true and correct copy of the
relevant portions of Darin Schriever’s deposition testimony, including
Exhibit 4 which was his Expert Report. Attached are the relevant portions
of his report highlighted in yellow.

10. Attached hereto as Exhibit 9 is a true and correct copy of
Case 1:15-cv-01023-CBK Document 40 Filed 12/05/16 Page 3 of 3 PagelD #: 557

relevant portions of Steve Burian and Richard Wagner’s Expert Report

highlighted in yellow.
Dated this 5‘ day of December, 2016. Mo fl oe
X a

 

Jeff COle ’ /

Subscribed and sworn to before me

z 5t day of December, 2016.
UVa) (Kan phy

Notary Public - South Dakota
My Commission Expires: 07/08/2019

ahs,
>

RHONDA J. HAHNE ‘

pees Lb TARY PUBLIC (Zens 8
(SEAL) SOUTH DAKOTA BARS):

a ON
SFFJADIADIDON IIe eae

 
     

 
